                                      CASE 0:19-cr-00305-NEB-BRT Doc. 9 Filed 12/06/19 Page 1 of 1

                                                  IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF MINNESOTA

                                                      INITIAL APPEARANCE
UNITED STATES OF AMERICA,                                   )            COURTROOM MINUTES - CRIMINAL
                                                            )                 BEFORE: Tony N. Leung
                                         Plaintiff,         )                  U.S. Magistrate Judge
                                                            )
   v.                                                       )    Case No:              19-cr-305 NEB/BRT
                                                            )    Date:                 December 6, 2019
Neeraj Chopra,                                              )    Courthouse:           Minneapolis
                                                            )    Courtroom:            9W
                                         Defendant,         )    Time Commenced:       3:30 p.m.
                                                                 Time Concluded:       4:15 p.m.
                                                                 Time in Court:        45 minutes


APPEARANCES:
   Plaintiff: Thomas Calhoun-Lopez, Assistant U.S. Attorney
   Defendant: Ryan Garry
                         X Retained

   Date Charges Filed: 11/21/2019                          Offense: abusive sexual contact

   X Advised of Rights

on            X Indictment


X Bond RPR set in the amount of $25,000.00 with conditions, see Order Setting Conditions of Release.



X Defendant also arraigned at this hearing, see separate arraignment minutes.



Additional Information:
                                                                                                 s/Janet Midtbo
                                                                                               Signature of Courtroom Deputy




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